     Case 1:25-cv-10676-BEM          Document 174-1         Filed 06/23/25     Page 1 of 2




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 D.V.D.; M.M.; E.F.D.; and O.C.G.,
                                                           Case No. 25-cv-10676-BEM
              Plaintiffs,

                  v.                                       [PROPOSED] ORDER
                                                           GRANTING PLAINTIFFS’
 U.S. DEPARTMENT OF HOMELAND SECURITY;                     EMERGENCY MOTION ON
 Kristi NOEM, Secretary, U.S. Department of                BEHALF OF CLASS MEMBERS
 Homeland Security, in her official capacity; Pamela       E.A.H., J.M.R., T.N., J. M.-G.,
 BONDI, U.S. Attorney General, in her official             K.M., D.D., N.M., AND T.T.P.
 capacity; and Antone MONIZ, Superintendent,               TO ENFORCE ORDER ON
 Plymouth County Correctional Facility, in his official    REMEDY (DKT. 119)
 capacity,                                                 AND ALTERNATIVE MOTION
                                                           FOR INDIVIDUAL
              Defendants.                                  TEMPORARY RESTRAINING
                                                           ORDERS AND PRELIMINARY
                                                           INJUNCTIONS


       THIS MATTER comes before the Court on Plaintiffs’ Emergency Motion on Behalf of

Class Members E.A.H., J.M.R., T.N., J.M.-G., K.M., D.D., N.M., and T.T.P. to Enforce Order

on Remedy (Dkt. 119) and Alternative Motion for Individual Temporary Restraining Orders and

Preliminary Injunctions. Having considered the motion, the memorandum and exhibits in support

thereof, and any subsequent submissions, and the applicable law, the Court ORDERS as follows:


   1. Plaintiffs’ Motion is GRANTED.

   2. Defendants, and all of their officers, agents, servants, employees, attorneys, successors,

       assigns, and persons acting in concert or participation with them are hereby ORDERED

       to maintain custody of Class Members of E.A.H., J.M.R., T.N., J. M.-G., K.M., D.D.,

       N.M., and T.T.P. and are ENJOINED and RESTRAINED from removing them to South




                                                1
     Case 1:25-cv-10676-BEM           Document 174-1        Filed 06/23/25      Page 2 of 2




       Sudan or any other third country until Defendants have complied with all terms of the

       Order on Remedy for Violation of Preliminary Injunction, Dkt. 119. 1

    3. Defendants are also ORDERED to continue to provide status reports as required by the

       Order on Remedy for Violation of Preliminary Injunction, see Dkt. 119 at 2, as to all

       eight individuals.

It is so ORDERED.

DATED this ___________ day of June 2025.



                                             _________________________________________
                                             U.S. DISTRICT JUDGE BRIAN E. MURPHY




1
         “DHS, in its discretion, may elect to provide this process to the six individuals either
within the United States—should it choose to return them to the United States—or abroad, if at
all relevant times DHS retains custody and control over the individuals in conditions
commensurate to those the individuals would be housed in were they still in DHS’s custody
within the United States.” Dkt. 119 at 2.
                                                 2
